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                                                                                January 19, 2024
VIA ECF
The Honorable Lewis A. Kaplan, U.S.D.J.
United States District Court
Southern District of New York
Daniel Patrick Moynihan
500 Pearl Street
New York, New York 10007

       Re:      Carroll v. Trump
                Civil Case No.: 1:20-cv-7311-LAK-JLC

Dear Judge Kaplan:

   We write, on behalf of President Donald J. Trump in response to the Court’s oral order on
January 17, 2024, directing the parties to provide briefing on the issue of mitigation of damages
by 4PM on Friday, January 18, 2024. Based on the law set forth in the letter brief, we ask the
Court to give the jury an instruction related to Plaintiff’s obligation to mitigate her damages or
minimize the effect of the defamation.

   A. Plaintiff had an Affirmative, Non-Waivable Duty to Minimize the Effects of the
      Alleged Defamation

        This Court previously acknowledged that “New York law requires plaintiffs to ‘use
reasonable and proper efforts’ to minimize the effects of a defamation[.]” Carroll v. Trump, No.
20-CV-7311 (LAK), 2024 WL 97359, at *2 (S.D.N.Y. Jan. 9, 2024) (citing Williams v. Bright, 230
A.D.2d 548, 550, 658 N.Y.S.2d 910, 911 (1st Dept. 1997); In re LIBOR-Based Fin. Instruments
Antitrust Litig., 299 F. Supp. 3d 430, 573 n.150 (S.D.N.Y. 2018); Wachs v. Winter, 569 F. Supp.
1438, 1446 (E.D.N.Y. 1983); 44 N.Y. Jur., 2d DEFAMATION AND PRIVACY § 232 (2023); 1
Robert D. Sack, SACK ON DEFAMATION § 10:5.5 at 10-57-58 (4th ed. 2011);
RESTATEMENT (SECOND) OF TORTS § 918 (1979)). Indeed, in New York, it is well
established that “a person who is defamed has a duty to minimize the effects of the defamation.”
Wachs, 569 F.Supp. at 1446 (citing Den Norske Ameriekalinje Actiesselskabet v. Sun Printing and
Publishing Association, 226 N.Y.1, 8, 122 N.E. 463, 465 (N.Y. 1919)) (emphasis added).

       In Den Norske, 226 N.Y. at 7, the seminal case on this issue under New York law (which
was cited in the Court’s January 17, 2024 oral order), the New York Court of Appeals held:

       The rule is of general and widespread application that one who has been injured
       either in his person or his property by the wrongful act or default of another is under
       an obligatory duty to make a reasonable effort to minimize the damages liable to
       result from such injury, and that if he does not make such reasonable effort he will



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       be debarred from recovering for those additional damages which result from such
       failure.

Den Norske, 226 N.Y. at 8; Ridgeview Partners, LLC v. Entwistle, 354 F. Supp. 2d 395, 402
(S.D.N.Y. 2005). The effort to reduce damages “must be made in good faith,” “it must be
conducted with reasonable skill, prudence and efficiency,” “it must be reasonably warranted by
and proportioned to the injury and consequences to be averted,” and “it must be made under a
belief reasonably justified that it will avoid or reduce the damages otherwise to be apprehended
from the wrong complained of.” Id.; Technest Holding, Inc. v. Deer Creek Fund LLC, No. 06 Civ.
1665 (HBP), 2008 U.S. Dist. LEXIS 61560, 2008 WL 3449941, at *19 (S.D.N.Y. Aug. 12, 2008)
(same).

         Here, as in Den Norske 1, the Complaint alleges a cause of action for defamation based on
two statements. As such, Plaintiff, at all relevant times, had an affirmative duty to “minimize[e]
the effect of” the June 21 and 22 statements. Carroll, 2024 WL 97359, at *2 (citations omitted).
The jury, therefore, must be instructed to consider whether Plaintiff abided by this duty using good
faith, reasonable skill, prudence, and efficiency. In other words, they must be allowed to consider
whether, and to what extent, Plaintiff’s claimed damages are attributable to her own conduct as
opposed to President Trump’s June 21 and June 22 statements.

        Further support for the proposition that a defamation plaintiff’s duty to mitigate damages
is not waivable can be found in New York Civil Rights Law 78, which states:

       In an action for libel or slander the defendant may prove mitigating circumstances,
       including the sources of his information and the grounds for his belief, whether or
       not he has pleaded or attempted to prove any defense. A defendant in default for
       want of an answer may prove such mitigating circumstances upon a reference or
       inquiry to ascertain the amount of the plaintiff's damages. Matter tending only to
       mitigate or reduce damages is a partial defense and may be set forth in the answer.

N.Y. Civ. Right Law § 78. The law states that “matter tending only to mitigate or reduce damages
is a partial defense and may be set forth in the answer.” (emphasis added.) Thus, with the use of
such permissive language, it is clear that in the defamation context, a defendant is not required to
plead this duty or consideration as an affirmative defense.




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  Den Norske also sets forth an exception to this obligation when malice has been shown, but that
is a question for the jury to decide, and if the jury were to find that President Trump acted with
common law malice, Plaintiff’s efforts to minimize damages becomes a factor that the jury can
consider. See Den Norske, 226 N.Y. at 9; Ridgeview, 354 F.Supp.2d at 402-403. Therefore, any
instruction to the jury should state that if no common law malice is found, the jury must consider
whether Ms. Carroll mitigated her damages and if common law malice is found, then the jury may
consider Ms. Carroll’s minimization of the effect of the defamation.



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        Accordingly, common law principles and statutory codification both make clear that a
plaintiff in a defamation case has an affirmative, non-waivable duty to minimize the effects of an
alleged defamation. As such, the jury must be instructed on this issue. 2

    B. President Trump has Properly Asserted the Defense of Failure to Mitigate Damages

        With respect to the question of waiver, President Trump maintains that he has not waived
any jury instruction related to mitigation, as he had no obligation to plead Ms. Carroll’s affirmative
duty to minimize the effect of the alleged defamation. Even assuming arguendo that the defense
was required to be plead, President Trump did adequately raise it.

        In Travellers Intern., AG v. Trans World Airlines, a non-defamation case, the Second
Circuit considered the merits of a defendant’s failure to mitigate damages even though the defense
had not been specifically plead in the answer. 41 F.3d 1570 (2d Cir. 1994). The Second Circuit
found that the mitigation defense had been included in the defendant’s causation defense, noting
that “the failure to mitigate damages is arguably an aspect of causation.” 41 F.3d at 1578.

        Here, similarly, the Seventeenth Affirmative Defense of President Trump’s Amended
Answer (the “Answer”) states: “[n]either Defendant nor the challenged statements proximately
caused any injury that the Plaintiff allegedly suffered.” ECF 171 at 22. Throughout trial, when the
defense has argued that Ms. Carroll failed to minimize the effect of any alleged defamation, the
argument has largely been one of causation. The thrust of President Trump’s position is that his
June 21 and 22 statements are not the proximate cause of any harm that Ms. Carroll suffered but,
rather, the harm is attributable to her own conduct in making the initial accusation (through an
exclusive in a popular magazine), making numerous media appearances, frequently promoting
updates in her lawsuit, etc. Thus, like in Travellers, there is significant overlap between the
defenses of mitigation and causation. As such, President Trump’s Seventeenth Affirmative
Defense properly preserved his defense of failure to mitigate damages.

        Nonetheless, even if this Court determines that the defense was not properly raised in the
Answer, any such deficiency was cured when President Trump raised the defense of failure to
mitigate in his Pre-Trial Order. See ECF 227 at 6 (“Contrary to Plaintiff’s contention, she did not
sustain any reputational or economic harm as a result of the Statements; even if she did, any harm
sustained was de minimis and the result of Plaintiff’s own conduct.”). It is well established that a
defendant may raise “an affirmative defense for the first time in the joint PTO.” Gilmore v.
Gilmore, 503 Fed.Appx. 97, 99 (2d Cir. 2012). When President Trump raised this defense in the
Pre-Trial Order, Plaintiff did not object. See ECF 227. As such, Plaintiff was provided with “notice
and had an opportunity to respond,” which Plaintiff expressly declined to exercise. See Gilmore,
503 F. App'x at 99. Moreover, the Court did not strike President Trump’s affirmative defense when
it endorsed the Joint Pretrial Order. Id. As such, President Trump properly invoked this defense.
See id.; Stephenson v. Doe, 332 F. 3d 68, 76 (2d Cir. 2003) (“Although defendants did not plead


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  This Court also requested briefing on the issue of whether the burden of proof lies with the
plaintiff or defendant. This question appears to be unsettled in the law, at least with respect to
defamation cases. Accordingly, President Trump’s position is that Plaintiff should bear the burden
of proof on this issue since she has an affirmative obligation to mitigate.


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qualified immunity in their answer, they asserted the defense in other pretrial submissions,
including the parties' joint pretrial order, defendants' trial memorandum of law and proposed jury
instructions.”) (citing McCardle v. Haddad, 131 F.3d 43, 51 (2d Cir. 1997); see also 999 v. C.I.T.
Corp., 776 F.2d 866, 870 n. 2 (9th Cir. 1985) (“[The defendant] failed to raise mitigation of
damages as an affirmative defense in its pleadings…however, the issue of mitigation was included
in the pre-trial order, which has the effect of amending the pleadings.”) (citation omitted); Accent
Films, B.V. v. Universal City Studios, Inc., 24 F.3d 244 (9th Cir. 1994) (“[I]nclusion of mitigation
of damages in the pretrial order has the effect of amending the pleadings.”) (citation omitted).

        Based on the foregoing, President Trump respectfully requests that this Court give the jury
an instruction relating to Plaintiff’s obligation to mitigate her damages or minimize the effect of
the defamation.

                                              Respectfully submitted,




                                              Alina Habba, Esq.
                                              For HABBA MADAIO & ASSOCIATES LLP

cc: All Counsel of Record (via ECF)




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